Case 6:09-cv-01401-CEH-T_S Document 201 Filed 07/25/11 Page 1 of 10 PageID 4574




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


 MARCOS ROMERO, et al.,            )
                                   )
                       Plaintiffs, )
                                   )
 v.                                )             Case No. 6:09-CV-1401-Orl-35GJK
                                   )
                                   )
 FLORIDA POWER & LIGHT             )
 COMPANY,                          )
                                   )
                       Defendant. )
 _________________________________)

 PLAINTIFFS’ MOTION FOR REPRESENTATIVE TESTIMONY AT TRIAL ON
                     THE ISSUE OF LIABILITY

        Plaintiffs, MARCOS ROMERO, ALBERT SALA, JAMES KNAPP, STEPHEN

 PRATT, LARRY BRYAN, JAMES HARTWELL, JOHN RITTER, JACK MURPHY,

 and THOMAS CONNORS, by and through the undersigned counsel and pursuant to the

 Federal Rules of Civil Procedure and Local Rules for the Middle District of Florida,

 request the entry of an Order approving of the use of representative testimony at trial as

 to the issue of liability, and state:

    1. The instant case is a collective action for overtime wages brought pursuant to the

        Fair Labor Standards Act (“FLSA”), which has been conditionally certified by the

        Court.

    2. Currently, there are 370 Plaintiffs and Opt-In Plaintiffs claiming overtime wages

        owed for their meal breaks which should have been compensable.
Case 6:09-cv-01401-CEH-T_S Document 201 Filed 07/25/11 Page 2 of 10 PageID 4575




    3. In this collective action, Plaintiffs should not be required at trial to present the

        testimony of all 370 Plaintiffs and Opt-In Plaintiffs as to the issue of liability.1

    4. Rather, for the reasons set forth herein, at trial Plaintiffs should be allowed to

        prove the issue of liability through the use of representative testimony.

    5. Pursuant to the Local Rules for the Middle District of Florida, Plaintiffs certify

        that they have conferred with Defendant both in writing and orally and Defendant

        opposes the relief sought in this Motion.

        WHEREFORE, Plaintiffs, MARCOS ROMERO, ALBERT SALA, JAMES

 KNAPP, STEPHEN PRATT, LARRY BRYAN, JAMES HARTWELL, JOHN RITTER,

 JACK MURPHY, and THOMAS CONNORS, request the entry of an Order approving

 of the use of representative testimony at trial as to the issue of liability.

                                 MEMORANDUM OF LAW

 I.LEGAL STANDARDS

        In collective actions brought pursuant to 29 U.S.C. 216(b), not all plaintiffs must

 testify; rather, representative evidence will suffice to prove liability on a class-wide

 basis. See e.g., Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680, 687-88 (1946) (all

 plaintiffs need not testify in FLSA overtime action). The Eleventh Circuit repeatedly has


 1 Contemporaneously herewith, Plaintiffs are filing a Motion for Bifurcation, requesting the
 Court to separately try the issues of liability and (if necessary) damages. Consistent with the
 Motion for Bifurcation, Plaintiffs do not also seek representative testimony regarding the issue of
 damages at this time. Moreover, as noted in Plaintiffs’ Motion for Bifurcation, if the Court
 granted Plaintiff’s Motion for Summary Judgment as to Liability or if the Court granted
 Defendant’s Motion for Summary Judgment, the issue of representative testimony as to liability
 (as well as the issue of bifurcation) would be moot.

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Case 6:09-cv-01401-CEH-T_S Document 201 Filed 07/25/11 Page 3 of 10 PageID 4576




 allowed representative testimony as to liability in such cases. Morgan v. Family Dollar

 Stores, Inc., 551 F. 3d 1233 (11th Cir. 2008) (allowing less than 1% of plaintiffs to testify

 as to liability for a class of 1424); Brock v. Norman's Country Market, Inc., 835 F.2d

 823, 828 (11th Cir.), cert. denied, 487 U.S. 1205, 101 L. Ed. 2d 883, 108 S. Ct. 2845

 (1988) (“The fact that several employees do not testify does not penalize their claim; ‘it

 is clear that each employee need not testify…’”) (citations omitted); Donovan v. New

 Floridian Hotel, Inc., 676 F.2d 468 (11th Cir. 1982) (affirming the trial court's ruling that

 evidence could be limited to a sub-set of employees). Courts use representative testimony

 in all type of FLSA collective actions, including off-the-clock cases such as the instant

 case. See, Donovan, supra.

        Virtually every other Circuit Court of Appeals is in accord in approving the use of

 representative testimony in FLSA collective actions. U.S. Dept. Of Labor v. Cole

 Enterprises, Inc., 62 F.3d 775, 781 (6th Cir. 1995) (“The testimony of fairly

 representative employees may be the basis for an award of back wages to nontestifying

 employees.”);2 Reich v. Southern New England Telecommunications Corp., 121 F. 3d 58,

 67-68 (2d Cir. 1997) (“a very small sample of representational evidence can suffice” for

 plaintiffs to carry their burden) (citations omitted); Reich v. Gateway Press, Inc., 13 F.3d

 685, 701-02 (3d Cir. 1994) (“[c]ourts commonly allow representative employees to prove

 2 Citing, Reich v. Southern Maryland Hosp., Inc., 43 F.3d 949, 951 (4th Cir. 1995); Martin v.
 Tony and Susan Alamo Found., 952 F.2d 1050, 1052 (8th Cir.), cert. denied, 120 L. Ed. 2d 869,
 112 S. Ct. 2992 (1992); Martin v. Selker Bros., Inc., 949 F.2d 1286, 1297 (3d Cir. 1991);
 Secretary of Labor v. DeSisto, 929 F.2d 789, 792 (1st Cir. 1991); Ho Fat Seto, 850 F.2d at 589;
 Brock v. Norman's Country Market, Inc., 835 F.2d 823, 828 (11th Cir.), cert. denied, 487 U.S.
 1205, 101 L. Ed. 2d 883, 108 S. Ct. 2845 (1988); Beliz v. W.H. McLeod & Sons Packing Co.,
 765 F.2d 1317, 1331 (5th Cir. 1985).
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Case 6:09-cv-01401-CEH-T_S Document 201 Filed 07/25/11 Page 4 of 10 PageID 4577




 violations with respect to all employees.”) (citations omitted); Secretary of Labor v.

 DeSisto, 929 F. 2d 789, 792, n.1 (1st Cir. 1991) (“[i]t is well established that not all

 employees need testify in order to prove the violations or to recoup back wages. Rather,

 the Secretary can rely on testimony and evidence from representative employees to meet

 the initial burden of proof requirement.”) (citations omitted); McLaughlin v. Ho Fat Seto,

 850 F. 2d 586, 589-90 (9th Cir. 1988) (district courts may “award back wages under the

 FLSA to non-testifying employees based upon the fairly representative testimony of other

 employees.”) (citations omitted); Donovan v. Bel-Loc Diner, Inc., 780 F.2d 1113, 1116

 (4th Cir. 1985) (granting back wages under the FLSA to non-testifying employees based

 upon the representative testimony of a percentage of the employer's employees);

 Donovan v. Simmons, 725 F. 2d 83, 86 (10th Cir. 1983) (“[n]ot all injured employees need

 testify in order to establish a prima facie case" under the FLSA); Brennan v. General

 Motors Acceptance Corp., 482 F. 2d 825, 829 (5th Cir. 1973); see also, Baden-

 Winterwood v. Life Time Fitness Inc., 729 F.Supp.2d 965 (S.D.Oh. 2010); In re Tyson

 Foods, Inc., 694 F.Supp.2d 1372, 1379-80 (M.D. Ga. 2010).3

 II.REPRESENTATIVE TESTIMONY IS REQUIRED ON THE ISSUE OF
 LIABILITY

        Based upon this overwhelming, unanimous, and controlling authority, Plaintiffs

 should be permitted to proceed at trial on a representative basis as to the issue of liability.


 3 To the extent Defendant may claim otherwise, many of the cases authorizing the use of
 representative testimony did so in the context of off-the-clock/meal break claims. See, Donovan,
 supra; see also, Cole Enterprises, Inc., Southern New England Telecommunications Corp., In re
 Tyson, supra.

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Case 6:09-cv-01401-CEH-T_S Document 201 Filed 07/25/11 Page 5 of 10 PageID 4578




 Plaintiffs propose that up to twenty (20) 4 of the Plaintiffs and Opt-In Plaintiffs testify at

 trial on behalf of the members of the collective action. See, Pendlebury v. Starbucks

 Coffee, 04-80521-CIV-MARRA, D.E. 125 (approving use of 36 opt-in plaintiffs in an

 FLSA collective action where over 900 people opted in); Plaseyed v. PCA National LLC,

 Case No. 05-60099, D.E. 95 (approving use of 40 representatives for an FLSA collective

 action of 1,560).

        In addition, the Witness List Defendant provided5 supports the use of

 representative testimony on the issue of liability. In that Witness List Defendant included

 only approximately ten named Plaintiffs and Opt-In Plaintiffs (as opposed to all 370

 Plaintiffs, Opt-In Plaintiffs and members of the collective class). This demonstrates that

 the evidence of the issue of liability – at least to Defendant – is restricted to the

 testimony of small fraction of the 370 member collective class, thereby supporting the

 use of representative testimony.6 Moreover, it further suggests Defendant’s belief that

 the presentation of testimony by 370 similarly situated persons at trial would be

 unreasonably cumulative and duplicative. See, Morgan, supra at * fn 74 (approving of


 4 Notably, Plaintiffs have not requested the 1% approved by the Eleventh Circuit in Morgan,
 supra. In affirming the use of such a small sampling of testimony, the Court there also had
 considered the other trial evidence.

 5 Prior to the stay of pre-trial preparations and pursuant to the Court’s original Order, the Parties
 engaged in pre-trial preparations, including the exchange of preliminary Witness and Exhibits
 Lists.

 6  And, while Plaintiffs provided Defendant with a more extensive Witness List at the Parties’
 pretrial meeting, they expressly agreed that their Witness List would be significantly pared
 down. Plaintiffs continue to abide by that agreement; however, because the pretrial preparations
 have been stayed by Order of the Court, Plaintiffs have yet to revise their Witness List, as they
 are awaiting further instruction and orders from the Court.
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Case 6:09-cv-01401-CEH-T_S Document 201 Filed 07/25/11 Page 6 of 10 PageID 4579




 representative testimony in FLSA collective actions to prevent or avoid cumulative

 testimony); see also, Stillman v. Staples, 2009 U.S. Dist. Lexis 42247, *69-76 (D. N.J.

 2009).

          Further, while Plaintiffs acknowledge that Defendant certainly has the right to

 develop and present any and all arguably available defenses, that right is not unfettered.

 See, Long v. Trans World Airlines, Inc., 761 F. Supp. at 1320, 1323 (N.D. Ill. 1991)

 (holding that “defendant has no ‘right’ to an individualized determination”).          The

 fundamental principle underlying representative testimony is that any meaningful

 differences among class members can be determined by a sampling of individuals. See

 e.g., Nelson v. American Standard, Inc., 2009 WL 4730166, *3 (E.D. Tex. 2009); see

 also, Cranney v. Carriage Services Inc., 2008 WL 2457912, *2 (D. Nev. 2008).

          Further, to the extent Defendant may raise constitutional concerns, representative

 testimony has been upheld in the face of such specific challenges. In re Coordinated

 Pretrial Proceedings in Antibiotic Antitrust Actions, 333 F. Supp. at 287-88 ("In these

 circumstances the court cannot conclude that the defendants are constitutionally entitled

 to compel a parade of individual plaintiffs . . . ." Instead the Court limited defendants'

 access to all of the class, allowing representative discovery by means of statistical

 sampling); Bell v. Farmers Insurance Exchange, 115 Cal. App. 4th 715, *89 (Cal. 1st App.

 Dist. 2004) (finding that the defendant's due process challenges have no merit in an

 FLSA action.).




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Case 6:09-cv-01401-CEH-T_S Document 201 Filed 07/25/11 Page 7 of 10 PageID 4580




        Further, the Supreme Court’s recent decision in Wal-Mart Stores Inc. v. Dukes,

 2011 U.S. Lexis 4567 (2011), does not suggest that representative testimony is not a

 proper method for presenting evidence at the trial in this FLSA collective action.      The

 second part of the Court’s decision in Dukes dealt with the “established procedure[s] for

 trying pattern-or-practice [“Title VII] cases” and concerned the specific remedies

 allowed in those types of cases:

        When the plaintiff seeks individual relief such as reinstatement or backpay
        after establishing a pattern or practice of discrimination, "a district court
        must usually conduct additional proceedings . . . to determine the scope of
        individual relief." Teamsters, 431 U.S., at 361, 97 S. Ct. 1843, 52 L. Ed. 2d
        396. At this phase, the burden of proof will shift to the company, but it will
        have the right to raise any individual affirmative defenses it may have, and
        to "demonstrate that the individual applicant was denied an employment
        opportunity for lawful reasons."


 Id., at 362, 97 S. Ct. 1843, 52 L. Ed. 2d 396. These equitable remedies, such as

 reinstatement, are not available in or relevant to this FLSA collective action.

 Therefore, Dukes is inapposite to the issue of the application of representative

 testimony in the instant case..

        In addition, in Dukes, the Supreme Court (rejected “trial by formula” in such Title

 VII cases: “We disapprove that novel project. Because the Rules Enabling Act forbids

 interpreting Rule 23 to "abridge, enlarge or modify any substantive right." Id. (citing, 28

 U.S.C. § 2072(b); see Ortiz, 527 U.S., at 845, 119 S. Ct. 2295, 144 L. Ed. 2d 715). The

 instant case which arises under the FLSA – and not Rule 23 – is therefore not subject to



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Case 6:09-cv-01401-CEH-T_S Document 201 Filed 07/25/11 Page 8 of 10 PageID 4581




 this holding. Notably, the Court’s language did not suggest that its holding foreclosed

 representative testimony in FLSA collective actions.7

        Policy reasons also support the use of representative testimony on the issue of

 liability. The primary objectives of a § 216(b) collective action are: (1) to lower costs to

 the plaintiffs through the pooling of resources; and (2) to limit the controversy to one

 proceeding which efficiently resolves common issues of law and fact that arose from the

 same alleged activity. Hoffman La Roche Inc. v. Sperling, 493 U.S. 165, 170 (1989).

 Furthermore, the "FLSA is a remedial statute that has been construed liberally to apply to

 the furthest reaches consistent with congressional direction." Prickett v. DeKalb County,

 349 F.3d 1294, 1296 (11th Cir. 2003). FLSA plaintiffs can "hardly be expected to pursue

 these small claims individually, so there is little likelihood that their rights will be

 vindicated in the absence of a collective action." Bradford v. Bed, Bath & Beyond, 184 F.

 Supp. 2d 1342, 1351 (N.D. Ga. 2002).

        In addition, putting aside the logical manageability concerns that may warrant

 limitations on discovery in individual party cases, representative discovery and sampling

 are especially appropriate in an FLSA collective action to prevent abuse and a wasting of

 resources. In Anderson v, Mt Clemens Pottery, supra, the Supreme Court noted that the

 “remedial nature of this statute and the great public policy which it embodies, however,

 militate against making that burden an impossible burden for the employee." 328

 7   Indeed, the Dukes Court’s language regarding “formulas” did not foreclose the use of
 representative testimony in Rule 23 cases either. Nowhere does the case state that all plaintiffs
 (whether millions or a class of smaller scope) would be required to testify at trial, which is
 antithetical to Rule 23 class actions.
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Case 6:09-cv-01401-CEH-T_S Document 201 Filed 07/25/11 Page 9 of 10 PageID 4582




 U.S. at 687 (emphasis added). Likewise, in Hoffman-LaRoche v. Sperling, supra, the

 Supreme Court again noted that the remedial purposes of the FLSA allow workers to pool

 their resources and efficiently seek recourse against their employer.

 III.CONCLUSION

        For all these reasons, Plaintiffs, MARCOS ROMERO, ALBERT SALA, JAMES

 KNAPP, STEPHEN PRATT, LARRY BRYAN, JAMES HARTWELL, JOHN RITTER,

 JACK MURPHY, and THOMAS CONNORS, request the entry of an Order approving

 of the use of representative testimony at trial on the issue of liability, and for damages, if

 any, to be addressed thereafter pursuant to Plaintiffs’ separate Motion for Bifurcation..

 Dated: July 25, 2011                       Respectfully submitted,
       Boca Raton, Florida
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                                               9
Case 6:09-cv-01401-CEH-T_S Document 201 Filed 07/25/11 Page 10 of 10 PageID 4583




                                     CERTIFICATE OF SERVICE

         I hereby certify that on July 25, 2011, I electronically filed the foregoing
  document with the Clerk of Court using CM/ECF. I also certify that the foregoing
  document is being served this day on all counsel of record or pro se parties identified on
  the attached Service List in the manner specified, either via transmission of Notices of
  Electronic Filing generated by CM/ECF or in some other authorized manner for those
  counsel or parties who are not authorized to receive electronically Notices of Filing.


                                           /s/GREGG I. SHAVITZ
                                           Gregg I. Shavitz


                                     SERVICE LIST
                 Marcos Romero, et al. v. Florida Power and Light Co.
                         CASE NO.: 6:09-cv-01401-MSS-GJK
                 United States District Court, Middle District of Florida

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                                             10
